Case 1:16-cv-03514-CLP               Document 8          Filed 08/10/16     Page 1 of 14 PageID #: 34




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UNITED STATESS DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X
MICHAEL GRINBERG, individually and on behalf
of others similarly situated persons,                                Case No.: 16-cv-03514 (SJ)(CLP)

                                            Plaintiff,

                 -against-                                           ANSWER


LAW OFFICE OF YURIY PRAKHIN, P.C., and
YURIY PRAKHIN,

                                             Defendants.
----------------------------------------------------------------X

                                                   ANSWER

        The defendants LAW OFFICE OF YURIY PRAKHIN, P.C., and YURIY PRAKHIN,

(hereinafter referred to as the “Defendants”), by and through their attorneys, STEPHEN D.

HANS AND ASSOCIATES, P.C., as and for their Answer to the complaint filed in this action

on June 24, 2016 (the “Complaint”) by the plaintiff MICHAEL GRINBERG, (hereinafter

referred to as the “Plaintiff”) respond and allege as follows:




                                                         1
Case 1:16-cv-03514-CLP          Document 8        Filed 08/10/16      Page 2 of 14 PageID #: 35




               AS AND FOR AN ANSWER TO PLAINTIFF’S STATEMENT
                    REGARDING “PRELIMINARY STATEMENT”

1.     With respect to the allegations contained in Paragraph 1 of the Complaint, the Defendants

admit that the action has been styled as stated and state that such allegations consist of statements

and/or conclusions of law to which no responsive pleading is required.

2.     With respect to the allegations contained in Paragraph 2 of the Complaint, the Defendants

deny the allegations contained in such Paragraph and state that such allegations consist of

statements and/or conclusions of law to which no responsive pleading is required.

              AS AND FOR AN ANSWER TO PLAINTIFF’S STATEMENTS
                    REGARDING “JURISDICTION AND VENUE”

3.     With respect to the allegations contained in Paragraph 3 of the Complaint, the Defendants

state that such allegations consist of statements and/or conclusions of law to which no responsive

pleading is required.

4.     With respect to the allegations contained in Paragraph 4 of the Complaint, the Defendants

state that such allegations consist of statements and/or conclusions of law to which no responsive

pleading is required.

5.     With respect to the allegations contained in Paragraph 5 of the Complaint, the Defendants

state that such allegations consist of statements and/or conclusions of law to which no responsive

pleading is required.

              AS AND FOR AN ANSWER TO PLAINTIFF’S STATEMENTS
                            REGARDING “PARTIES”

6.     With respect to the allegations contained in Paragraph 6 of the Complaint, the Defendants

deny having knowledge or information sufficient to form a belief as to the truth or falsity of the

allegations contained in such Paragraph.


                                                 2
Case 1:16-cv-03514-CLP          Document 8        Filed 08/10/16      Page 3 of 14 PageID #: 36




7.     With respect to the allegations contained in Paragraph 7 of the Complaint, the Defendants

deny having knowledge or information sufficient to form a belief as to the truth or falsity of the

allegations contained in such Paragraph.

8.     With respect to the allegations contained in Paragraph 8 of the Complaint, the Defendants

admit the allegations contained in such Paragraph.

9.     With respect to the allegations contained in Paragraph 9 of the Complaint, the Defendants

admit the allegations contained in such Paragraph.

10.    With respect to the allegations contained in Paragraph 10 of the Complaint, the

Defendants admit the allegations contained in such Paragraph.

11.    With respect to the allegations contained in Paragraph 11 of the Complaint, the

Defendants admit the allegations contained in such Paragraph.

12.    With respect to the allegations contained in Paragraph 12 of the Complaint, the

Defendants deny having knowledge or information sufficient to form a belief as to the truth or

falsity of the allegations contained in such Paragraph and state that such allegations consist of

statements and/or conclusions of law to which no responsive pleading is required.

              AS AND FOR AN ANSWER TO PLAINTIFF’S STATEMENTS
                     REGARDING “FACTUAL ALLEGATIONS”

13.    With respect to the allegations contained in Paragraph 13 of the Complaint, the

Defendants admit the allegations contained in such Paragraph.

14.    With respect to the allegations contained in Paragraph 14 of the Complaint, the

Defendants deny having knowledge or information sufficient to form a belief as to the truth or

falsity of the allegations contained in such Paragraph.

15.    With respect to the allegations contained in Paragraph 15 of the Complaint, the

Defendants deny the allegations contained in such Paragraph.

                                                 3
Case 1:16-cv-03514-CLP          Document 8       Filed 08/10/16       Page 4 of 14 PageID #: 37




16.    With respect to the allegations contained in Paragraph 16 of the Complaint, the

Defendants deny the allegations contained in such Paragraph.

17.    With respect to the allegations contained in Paragraph 17 of the Complaint, the

Defendants deny the allegations contained in such Paragraph.

18.    With respect to the allegations contained in Paragraph 18 of the Complaint, the

Defendants deny the allegations of illegal practices.

19.    With respect to the allegations contained in Paragraph 19 of the Complaint, the

Defendants deny all of the allegations contained in such Paragraph.

20.    With respect to the allegations contained in Paragraph 20 of the Complaint, the

Defendants deny the allegations contained in such Paragraph.

21.    With respect to the allegations contained in Paragraph 21 of the Complaint, the

Defendants deny the allegations contained in such Paragraph.

22.    With respect to the allegations contained in Paragraph 22 of the Complaint, the

Defendants deny the allegations contained in such Paragraph.

23.    With respect to the allegations contained in Paragraph 23 of the Complaint, the

Defendants deny the allegations contained in such Paragraph.

24.    With respect to the allegations contained in Paragraph 24 of the Complaint, the

Defendants deny the allegations contained in such Paragraph.

25.    With respect to the allegations contained in Paragraph 25 of the Complaint, the

Defendants deny the allegations contained in such Paragraph.

26.    With respect to the allegations contained in Paragraph 26 of the Complaint, the

Defendants deny having knowledge or information sufficient to form a belief as to the truth or

falsity of the allegations contained in such Paragraph.



                                                 4
Case 1:16-cv-03514-CLP          Document 8       Filed 08/10/16     Page 5 of 14 PageID #: 38




27.    With respect to the allegations contained in Paragraph 27 of the Complaint, the

Defendants deny having knowledge or information sufficient to form a belief as to the truth or

falsity of the allegations contained in such Paragraph.

28.    With respect to the allegations contained in Paragraph 28 of the Complaint, the

Defendants admit that a letter was received from Levitsky Law firm.

29.    With respect to the allegations contained in Paragraph 29 of the Complaint, the

Defendants admit the allegations contained in such Paragraph.

30.    With respect to the allegations contained in Paragraph 30 of the Complaint, the

Defendants deny the allegations contained in such Paragraph.

31.    With respect to the allegations contained in Paragraph 31 of the Complaint, the

Defendants deny the allegations contained in such Paragraph.

              AS AND FOR AN ANSWER TO PLAINTIFF’S STATEMENTS
               REGARDING “COLLECTIVE ACTION ALLEGATIONS”

32.    With respect to the allegations contained in Paragraph 32 of the Complaint, the

Defendants deny having knowledge or information sufficient to form a belief as to the truth or

falsity of the allegations contained in such Paragraph.

33.    With respect to the allegations contained in Paragraph 33 of the Complaint, the

Defendants deny the allegations contained in such Paragraph.

34.    With respect to the allegations contained in Paragraph 34 of the Complaint, the

Defendants state that such allegations consist of statements and/or conclusions of law to which

no responsive pleading is required.

35.    With respect to the allegations contained in Paragraph 35 of the Complaint, the

Defendants deny having knowledge or information sufficient to form a belief as to the truth or




                                                 5
Case 1:16-cv-03514-CLP          Document 8        Filed 08/10/16      Page 6 of 14 PageID #: 39




falsity of the allegations contained in such Paragraph and state that such allegations consist of

statements and/or conclusions of law to which no responsive pleading is required.

              AS AND FOR AN ANSWER TO PLAINTIFF’S STATEMENTS
             REGARDING “RULE 23 CLASS ALLEGATIONS – NEW YORK”

36.     With respect to the allegations contained in Paragraph 36 of the Complaint, the

Defendants deny the allegations contained in such Paragraph except admit the relief is asserted

as stated therein.

37.     With respect to the allegations contained in Paragraph 37 of the Complaint, the

Defendants deny having knowledge or information sufficient to form a belief as to the truth or

falsity of the allegations contained in such Paragraph.

38.     With respect to the allegations contained in Paragraph 38 of the Complaint, the

Defendants deny all of the allegations contained in such Paragraph.

39.     With respect to the allegations contained in Paragraph 39 of the Complaint, the

Defendants deny all of the allegations contained in such Paragraph.

40.     With respect to the allegations contained in Paragraph 40 of the Complaint, the

Defendants deny the allegations contained in such Paragraph.

41.     With respect to the allegations contained in Paragraph 41 of the Complaint, the

Defendants deny having knowledge or information sufficient to form a belief as to the truth or

falsity of the allegations contained in such Paragraph.

42.     With respect to the allegations contained in Paragraph 42 of the Complaint, the

Defendants deny having knowledge or information sufficient to form a belief as to the truth or

falsity of the allegations contained in such Paragraph and state that such allegations consist of

statements and/or conclusions of law to which no responsive pleading is required.




                                                 6
Case 1:16-cv-03514-CLP          Document 8       Filed 08/10/16       Page 7 of 14 PageID #: 40




43.    With respect to the allegations contained in Paragraph 43 of the Complaint, the

Defendants state that such allegations consist of statements and/or conclusions of law to which

no responsive pleading is required.

44.    With respect to the allegations contained in Paragraph 44 of the Complaint, the

Defendants deny all of the allegations contained in such Paragraph and state that such allegations

consist of statements and/or conclusions of law to which no responsive pleading is required.

45.    With respect to the allegations contained in Paragraph 45 of the Complaint, the

Defendants deny all of the allegations contained in such Paragraph.

                             AS AND FOR AN ANSWER TO
                       PLAINTIFF’S “FIRST CLAIM FOR RELIEF”
         (Failure to Pay Overtime Wages – FLSA, Brought by Plaintiff on Behalf of
                         Himself and the FLSA Collective Plaintiffs)

46.    The Defendants repeat and reassert each and every one of the responses contained in the

preceding paragraphs hereof with the same force and effect as though fully set forth herein.

47.    With respect to the allegations contained in Paragraph 47 of the Complaint, the

Defendants deny all of the allegations contained in such Paragraph.

48.    With respect to the allegations contained in Paragraph 48 of the Complaint, the

Defendants deny all of the allegations contained in such Paragraph.

49.    With respect to the allegations contained in Paragraph 49 of the Complaint, the

Defendants deny all of the allegations contained in such Paragraph except that the relief has been

requested as stated.

50.    With respect to the allegations contained in Paragraph 50 of the Complaint, the

Defendants deny all of the allegations contained in such Paragraph.




                                                7
Case 1:16-cv-03514-CLP         Document 8        Filed 08/10/16       Page 8 of 14 PageID #: 41




                              AS AND FOR AN ANSWER TO
                      PLAINTIFF’S “SECOND CLAIM FOR RELIEF”
                     (Fair Labor Standards Act – Unlawful Retaliation –
                           Brought on Behalf of Plaintiff Grinberg)

51.    The Defendants repeat and reassert each and every one of the responses contained in the

preceding paragraphs hereof with the same force and effect as though fully set forth herein.

52.    With respect to the allegations contained in Paragraph 52 of the Complaint, the

Defendants deny all of the allegations contained in such Paragraph.

53.    With respect to the allegations contained in Paragraph 53 of the Complaint, the

Defendants deny all of the allegations contained in such Paragraph.

54.    With respect to the allegations contained in Paragraph 54 of the Complaint, the

Defendants deny all of the allegations contained in such Paragraph.

55.    With respect to the allegations contained in Paragraph 55 of the Complaint, the

Defendants deny all of the allegations contained in such Paragraph.

56.    With respect to the allegations contained in Paragraph 56 of the Complaint, the

Defendants deny all of the allegations contained in such Paragraph.

57.    With respect to the allegations contained in Paragraph 57 of the Complaint, the

Defendants deny all of the allegations contained in such Paragraph.

                             AS AND FOR AN ANSWER TO
                     PLAINTIFF’S “THIRD CLAIM FOR RELIEF”
        (Failure to Pay Overtime Wages – NYLL, Brought by Plaintiff on Behalf of
                             Himself and the Class Members)

58.    The Defendants repeat and reassert each and every one of the responses contained in the

preceding paragraphs hereof with the same force and effect as though fully set forth herein.




                                                8
Case 1:16-cv-03514-CLP          Document 8       Filed 08/10/16       Page 9 of 14 PageID #: 42




59.    With respect to the allegations contained in Paragraph 59 of the Complaint, the

Defendants state that such allegations consist of statements and/or conclusions of law to which

no responsive pleading is required.

60.    With respect to the allegations contained in Paragraph 60 of the Complaint, the

Defendants deny all of the allegations contained in such Paragraph.

61.    With respect to the allegations contained in Paragraph 61 of the Complaint, the

Defendants deny all of the allegations contained in such Paragraph.

62.    With respect to the allegations contained in Paragraph 62 of the Complaint, the

Defendants deny all of the allegations contained in such Paragraph except admit certain relief as

stated is sought.

                              AS AND FOR AN ANSWER TO
                     PLAINTIFF’S “FOURTH CLAIM FOR RELIEF”
               (Notice Violations & Wage Statement Violations – NYLL §195,
              Brought by Plaintiff on Behalf of Himself and the Class Members)

63.    The Defendants repeat and reassert each and every one of the responses contained in the

preceding paragraphs hereof with the same force and effect as though fully set forth herein.

64.    With respect to the allegations contained in Paragraph 64 of the Complaint, the

Defendants deny having knowledge or information sufficient to form a belief as to the truth or

falsity of the allegations contained in such Paragraph.

65.    With respect to the allegations contained in Paragraph 65 of the Complaint, the

Defendants deny all of the allegations contained in such Paragraph.

66.    With respect to the allegations contained in Paragraph 66 of the Complaint, the

Defendants deny all of the allegations contained in such Paragraph.




                                                 9
Case 1:16-cv-03514-CLP         Document 8        Filed 08/10/16    Page 10 of 14 PageID #: 43




                             AS AND FOR AN ANSWER TO
                       PLAINTIFF’S “FIFTH CLAIM FOR RELIEF”
                        (New York Labor Law – Unlawful Retaliation
                          Brought on Behalf of Plaintiff Grinberg)

67.    The Defendants repeat and reassert each and every one of the responses contained in the

preceding paragraphs hereof with the same force and effect as though fully set forth herein.

68.    With respect to the allegations contained in Paragraph 68 of the Complaint, the

Defendants deny having knowledge or information sufficient to form a belief as to the truth or

falsity of the allegations contained in such Paragraph.

69.    With respect to the allegations contained in Paragraph 69 of the Complaint, the

Defendants state that such allegations consist of statements and/or conclusions of law to which

no responsive pleading is required.

70.    With respect to the allegations contained in Paragraph 70 of the Complaint, the

Defendants deny all of the allegations contained in such Paragraph.

71.    With respect to the allegations contained in Paragraph 71 of the Complaint, the

Defendants state that such allegations consist of statements and/or conclusions of law to which

no responsive pleading is required.

72.    With respect to the allegations contained in Paragraph 72 of the Complaint, the

Defendants deny having knowledge or information sufficient to form a belief as to the truth or

falsity of the allegations contained in such Paragraph.

73.    With respect to the allegations contained in Paragraph 73 of the Complaint, the

Defendants deny having knowledge or information sufficient to form a belief as to the truth or

falsity of the allegations contained in such Paragraph.

74.    With respect to the allegations contained in Paragraph 74 of the Complaint, the

Defendants deny all the allegations contained in such Paragraph.

                                                10
Case 1:16-cv-03514-CLP          Document 8        Filed 08/10/16      Page 11 of 14 PageID #: 44




                               AS AND FOR AN ANSWER TO
                             PLAINTIFF’S PRAYER FOR RELIEF

          With respect to the allegations contained in Paragraphs (A) through (H) of the

Complaint’s prayer for relief, the Defendants deny that the Plaintiff is entitled to any of the relief

sought.

                           AFFIRMATIVE AND OTHER DEFENSES

          The Defendants assert the following affirmative and other defenses without assuming any

burden of production or proof that they would not otherwise have. The Defendants further assert

that, to the extent that the Plaintiff’s claims as alleged are vague or unclear, so as to render it

difficult or impossible to identify and assert every possible affirmative or other defense, the

Defendants hereby expressly reserve their rights to assert additional defenses should further

proceedings in this action, including the progress of any discovery, reveal that such additional

defenses would be applicable and appropriate.

           AS AND FOR A FIRST DEFENSE TO THE PLAINTIFF’S COMPLAINT

          The statements and allegations contained in the Plaintiff’s Complaint may fail to state

any valid cause(s) of action upon which relief can be granted as a matter of fact and/or law,

either on behalf of the Plaintiff or on behalf of those persons whom they purport to represent.

       AS AND FOR A SECOND DEFENSE TO THE PLAINTIFF’S COMPLAINT

          The causes of action alleged in the Complaint may not be maintained as a collective

action under the Fair Labor Standards Act, 29 U.S.C. § 216, because the Plaintiff, upon

information and belief, are not similarly situated to some or all of the persons whom they purport

to represent.




                                                 11
Case 1:16-cv-03514-CLP          Document 8      Filed 08/10/16     Page 12 of 14 PageID #: 45




         AS AND FOR A THIRD DEFENSE TO THE PLAINTIFF’S COMPLAINT

         The statements and allegations contained in the Complaint fail to meet the requirements

necessary to justify collective action certification or the issuance of collective action notice

pursuant to 29 U.S.C. § 216 with respect to some or all of the employees alleged by the Plaintiffs

to be similarly situated to them.

         AS AND FOR A FOURTH DEFENSE TO THE PLAINTIFF’S COMPLAINT

         Subject to proof through discovery, some or all of the claims asserted by the Plaintiff

and/or the putative class members may be barred in whole or in part by the doctrine of unclean

hands.

          AS AND FOR A FIFTH DEFENSE TO THE PLAINTIFF’S COMPLAINT

         Subject to proof through discovery, some or all of the claims asserted by the Plaintiff

and/or the putative class members may be barred in whole or in part by the doctrine of estoppel,

quasi-estoppel, and/or equitable estoppel.

         AS AND FOR A SIXTH DEFENSE TO THE PLAINTIFF’S COMPLAINT

         Subject to proof through discovery, some or all of the claims asserted by the Plaintiff

and/or the putative class members may be barred in whole or in part by the doctrines of laches

and/or waiver.

      AS AND FOR A SEVENTH DEFENSE TO THE PLAINTIFF’S COMPLAINT

         Subject to proof through discovery, the Plaintiff and/or the putative class members may

not meet the requirements of Rule 23 of the Federal Rules of Civil Procedure, and this action

may not properly be maintained as a class action with respect to some or all of the claims

asserted.




                                               12
Case 1:16-cv-03514-CLP           Document 8       Filed 08/10/16    Page 13 of 14 PageID #: 46




      AS AND FOR AN EIGHTH DEFENSE TO THE PLAINTIFF’S COMPLAINT

       Subject to proof through discovery, the Plaintiff and/or the putative class members may

lack standing or may otherwise not be entitled to bring, maintain, or participate in a collective or

class action under the FLSA or Rule 23 of the Federal Rules of Civil Procedure.

        AS AND FOR A NINTH DEFENSE TO THE PLAINTIFF’S COMPLAINT

       The Defendants state, in the alternative if necessary, that their actions or omissions with

respect to the Plaintiff and/or putative class members were taken in good faith, with reasonable

belief that such conduct comported with the requirements of federal and state law.

        AS AND FOR A TENTH DEFENSE TO THE PLAINTIFF’S COMPLAINT

       Some or all of the Plaintiff’s and/or putative class members’ claims for class action relief

under New York state law fail because New York law prohibits class claims that include

invocation of penalties and/or liquidated damages.

    AS AND FOR AN ELEVENTH DEFENSE TO THE PLAINTIFF’S COMPLAINT

       The named Plaintiff, upon information and belief, would inadequately protect and

represent the interests of any potential class.

      AS AND FOR A TWELFTH DEFENSE TO THE PLAINTIFF’S COMPLAINT

       To the extent that any of the Plaintiff and/or putative class members may have received

compensation beyond that to which they were entitled under law, such additional compensation

may satisfy, in whole or in part, any alleged claim for unpaid wages and overtime compensation

or other monetary relief.




                                                  13
Case 1:16-cv-03514-CLP          Document 8       Filed 08/10/16      Page 14 of 14 PageID #: 47




      AS AND FOR A THIRTEENTH DEFENSE TO THE PLAINTIFF’S COMPLAINT

         The Defendants state, in the alternative if necessary, that if they are found to have

violated any law or regulation, that any such violation was not willful.

           RESERVATION OF RIGHTS TO ASSERT ADDITIONAL DEFENSES

         The Defendants state that they currently have insufficient knowledge or information on

which to form a belief as to whether they may have additional, as yet unstated, defenses

available. As such, the Defendants expressly reserve the right to assert additional defenses, and

to seek to amend this Answer to include any such additional defenses, in the event that discovery

indicates that any such additional defenses would be appropriate.



         WHEREFORE, the Defendants respectfully request that judgment be entered by this

Court:

(a)      dismissing any claims in the Complaint that may be found to be lacking in merit; and

(b)      granting the Defendants such further relief as may be just and proper.



Dated: Long Island City, New York
       August 10, 2016

                                              STEPHEN D. HANS & ASSOCIATES, P.C.

                                              By:_______/s/________________________
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                                                 14
